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 4
                                UNITED STATES DISTRICT COURT
 5
                                       DISTRICT OF NEVADA
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 7   TONYA MARIE DOTSON,
                                                           Case No. 2:21-cv-01485-GMN-NJK
 8           Plaintiff(s),
                                                                          Order
 9   v.
                                                                     [Docket No. 14]
10   WALMART, INC.,
11           Defendant(s).
12          Pending before the Court is a notice of a Rule 26(f) conference. Docket No. 14. Discovery-
13 related documents must be served on the affected party, not filed on the docket unless ordered by
14 the Court. Local Rule 26-8; Fed. R. Civ. P. 5(d)(1). No such order has been entered in this case.
15 Accordingly, the Court STRIKES the above-referenced document, and instructs the parties to
16 refrain from filing discovery documents on the docket in the future absent a Court order that they
17 do so.
18           IT IS SO ORDERED.
19          Dated: November 23, 2021
20                                                              ______________________________
                                                                Nancy J. Koppe
21                                                              United States Magistrate Judge
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